
976 So.2d 726 (2008)
STATE of Louisiana
v.
Gary TIRCUIT.
No. 2008-KH-0132.
Supreme Court of Louisiana.
February 1, 2008.
In re Tircuit, Gary;  Defendant; Applying for Supervisory and/or Remedial Writs, Parish of Orleans, Criminal District Court Div. K, No. 468-679; to the Court of Appeal, Fourth Circuit, No. 2007-K-0663.
Writ Denied. However, the district court should take the necessary steps to insure relator is brought into court for the hearing on pre-trial motions scheduled for February 11, 2008, and to set a date for trial at the conclusion of the hearing.
